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                      UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

                                                    )
 STEVES AND SONS, INC.,                             )
                                                    )
                       Plaintiff,                   )
                                                    )       Civil Action No. 3:16-cv-545-REP
 v.                                                 )
                                                    )
 JELD-WEN, INC.,                                    )
                                                    )
                        Defendant.                  )
                                                    )


  JELD-WEN, INC.’S MOTION TO MODIFY THE AMENDED FINAL JUDGMENT
          UNDER FEDERAL RULE OF CIVIL PROCEDURE 60(b)(5)

       JELD-WEN, Inc. (“JELD-WEN”) respectfully moves to modify the Amended Final

Judgment under Federal Rule of Civil Procedure 60(b)(5) to vacate all orders requiring

JELD-WEN to divest its Towanda, Pennsylvania facility, including but not limited to (i) the

October 5, 2018 Order requiring divestiture, Dkt. 1784, (ii) Section I.B of the Amended Final

Judgment, Dkt. 1852, and (iii) Section 3 of the May 16, 2022 Order, Dkt. 2282. JELD-WEN

further moves for an order that (i) vacates all provisions in the November 4, 2022 Order, Dkt. 2395,

that require JELD-WEN to assign the October 25, 2022 Molded Doorskin Product Agreement,

Dkt. 2392, to an Acquiring Company; and (ii) orders that the October 25, 2022 Molded Doorskin

Product Agreement shall apply solely to JELD-WEN and Steves and Sons, Inc. and shall take

effect immediately. The reasons that this Court should grant the motion are set forth in JELD-

WEN’s concurrently filed memorandum.
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   May 1, 2024                            Respectfully submitted:

                                          JELD-WEN, Inc.

                                          By counsel

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                                  CERTIFICATE OF SERVICE

       I certify that on the 1st day of May 2024, I electronically filed a copy of the foregoing

with the Clerk of Court using the CM/ECF system, which will then send a notification of such

filing (NEF) to the registered participants as identified on the NEF to receive electronic service.

                                                      /s/ Brian C. Riopelle
                                                      Brian C. Riopelle (VSB #36454)
